                                                              United States Bankruptcy Court
                                                                Northern District of Ohio
In re:                                                                                                                 Case No. 23-60243-jpg
Inez Avanell Crowe                                                                                                     Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0647-6                                                  User: vwaym                                                                 Page 1 of 1
Date Rcvd: Jan 17, 2024                                               Form ID: 141                                                               Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 19, 2024:
Recip ID                 Recipient Name and Address
aty                    + Melissa A. Brennan, Feinberg, Dumont & Brennan, 177 Milk Street, Suite 300, Boston, MA 02109-3408

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 19, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 17, 2024 at the address(es) listed
below:
Name                               Email Address
Dynele L Schinker-Kuharich
                                   DLSK@Chapter13Canton.com dschinkerkuharich@ecf.epiqsystems.com

Joel K. Jensen
                                   on behalf of Creditor JPMorgan Chase Bank National Association midwestbk@dallegal.com

Jonathon Carl Elgin
                                   on behalf of Debtor Inez Avanell Crowe jc@jcelgin.com 9150504420@filings.docketbird.com

Melissa A. Brennan
                                   on behalf of Creditor Teamster Affiliates Pension Plan mab@fdb-law.com nr@fdb-law.com


TOTAL: 4




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                                        United States Bankruptcy Court
                                          Northern District Of Ohio
                                         Notice of Filing Deficiency

   To: Melissa A. Brennan                                             Case Number: 23−60243−jpg
   Debtor(s): Inez Avanell Crowe                                      Judge: JOHN P. GUSTAFSON


Re: Motions/Pleadings/Filings for Judge's Consideration
    Amended Motion for Allowance of Late Filing of Proof of Claim (Doc 49)

The following deficiency must be corrected within 7 days from the date of this notice, or the matter may be
referred to the Judge for further consideration.

    Adversary filing incomplete. Need         Cover Page/Worksheet      Request for Summons         See Comments.
    Affidavit is invalid. Need      Notary Seal/Stamp       Signature    County/State       See Comments.
    Attachments missing or incorrectly filed.
    Case      Closed       Dismissed       Number incorrect     Transferred     Caption Incorrect.
    Certificate of service indicating name and address of parties served and date of service required.
    Exhibit A not attached.
    Form B121 required.
    Hearing information        Not fully reflected in order    No Hearing notice      Incorrect Hearing time/date.
    Signature Declaration missing.
    /S/ Signature required for      Attorney      Debtor     Creditor.
    Incorrect PDF Attached.
    No Means Testing Form
    Other. See Comments/Instructions.

Comments/Instructions:
Date certain required for response date in Notice.

Deputy Clerk: /s/Vickie J. Wayman
Date: 1/17/2024
Form ohnb141




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